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16
                             IN THE UNITED STATES DISTRICT COURT
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18
                                                       Case No. 15-cv-03504-YGR-JSC
19   CHRISTOPHER CORCORAN, et al.,
                                                       CLASS ACTION
20                             Plaintiffs,
                                                       DECLARATION OF JONATHAN K.
21         v.                                          LEVINE IN SUPPORT OF
                                                       PLAINTIFFS’ ADMINISTRATIVE
22   CVS PHARMACY, INC.,                               MOTION TO FILE UNDER SEAL
                                                       MATERIALS DESIGNATED AS
23                             Defendant.              CONFIDENTIAL
24                                                     Judge: Hon. Yvonne Gonzalez Rogers
25
26
27
28


     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                        CASE NO. 15-CV-03504-YGR-JSC
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 1   I, Jonathan K. Levine, declare as follows:
 2         1.       I am an attorney duly admitted to practice before this Court and am a partner of Pritzker
 3   Levine LLP, one of law firms representing plaintiffs and the proposed class in this litigation. I have
 4   personal knowledge of the facts stated herein and, if called upon to do so, could and would testify
 5   competently thereto.
 6         2.       Plaintiffs hereby request that the following documents be filed under seal, for the
 7   reasons set forth below:
 8              a) Attachment to three letters from CVS’ counsel to plaintiffs’ counsel entitled “Exhibit
 9                  A” which identifies the fields of transactional data produced by CVS; the letters are
10                  attached as Exhibit 3 to the December 22, 2016 Declaration of Robert B. Gilmore filed
11                  herewith (“Gilmore Decl.”);
12              b) A document produced by CVS in this litigation (CVSC-0341420) and designated by
13                  CVS as “Confidential”, attached as Exhibit 5 to the Gilmore Decl.;
14              c) Portions of a September 30, 2016 letter from CVS’ counsel to plaintiffs’ counsel
15                  identifying specific Condor Codes, attached as Exhibit 6 to the Gilmore Decl.;
16              d) Portions of the October 3, 2016 Declaration of Dr. Joel W. Hay, at paragraphs 2, 9, 10,
17                  12, 13, 27, 28, 31 - 34, 38, 40 – 43, 50, 52 – 55; footnotes 10 and 14; subheadings on
18                  page 13:24-15 and page 15:20-21; and Tables 1 – 17, attached as Exhibit 7 1 to the
19                  Declaration of Robert B. Gilmore, filed herewith (“Gilmore Decl.”);
20              e) Portions of an October 27, 2016 letter form CVS’ counsel to plaintiffs’ counsel
21                  identifying specific Condor Codes, attached as Exhibit 9 to the Gilmore Decl.;
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23
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25
     1
26    On October 3, 2016, plaintiffs moved to seal the same portions of the October 3, 2016 Declaration of
     Dr. Hay submitted in support of plaintiffs’ motion for class certification. See Dkt. No. 170,
27   specifically Dkts. Nos. 170-9 (motion to seal), and 172-6 (motion for class certification). The
     administrative motion to seal is currently pending.
28
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 1              f) Portions of the November 7, 2016 Supplemental Declaration of Dr. Joel W. Hay, at
 2                  paragraphs 1, 3, 4, 6, 9, 10, 12-14; footnote 3; subheadings on page 2:20; and Tables 1
 3                  – 13, attached as Exhibit 10 to the Gilmore Decl.;
 4              g) Portions of the December 9, 2016 Expert Report of Dr. Joel W. Hay, at paragraphs 2, 9,
 5                  11-14, 28, 29, 32-53, 55-68, 71-74, 76-78; footnotes 9, 11, 15, 16, 17, 19, 27;
 6                  subheadings on pages 8:13, 9:7, 9:24, 14:10-12, 17:5, 20:13-15, 32:23; Tables 1-20;
 7                  and the entirety of Exhibits D – G thereto, attached as Exhibit 11 to the Gilmore Decl.
 8         3.       Pursuant to § 2.2 of the Revised Stipulated Protective Order (“Order”)(Docket No. 66,
 9   filed December 14, 2015 and approved by the Court on December 15, 2015, Docket No. 67), each
10   party may designate as “Confidential” information that qualifies for protection under Federal Rule of
11   Civil Procedure 26(c). Pursuant to § 7.2 of the Order, disclosure of such information may be allowed
12   only to the categories of persons and under the conditions described in the Order. The documents
13   designated confidential and that are filed under seal are as follows:
14
15           Document                                     Designating Party and Confidentiality
                                                          Designation
16           Exhibit 3 to the Gilmore Decl.: attach-      CVS- Confidential
17           ment to three letters from CVS’ counsel
             to plaintiffs’ counsel entitled “Exhibit
18           A” which identifies the fields of
             transactional data produced by CVS
19
             Exhibit 5 to the Gilmore Decl.:              CVS- Confidential
20           document produced by CVS (CVSC-
21           0341420)
             Exhibit 6 to the Gilmore Decl.: portions     CVS- Confidential
22
             of a September 30, 2016 letter from
23           CVS’ counsel to plaintiffs’ counsel
             identifying specific Condor Codes
24
             Exhibit 7 to the Gilmore Decl.: portions     CVS- Confidential
25           of the October 3, 2016 Declaration of
             Dr. Joel W. Hay, at paragraphs 2, 9, 10,
26           12, 13, 27, 28, 31 - 34, 38, 40 – 43, 50,
27           52 – 55; footnotes 10 and 14;
             subheadings on page 13:24-15 and page
28
     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                              CASE NO. 15-cv-03504-YGR-JSC
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 1           15:20-21; and Tables 1 – 17.
             Exhibit 9 to the Gilmore Decl.: portions    CVS- Confidential
 2           of an October 27, 2016 letter form
 3           CVS’ counsel to plaintiffs’ counsel
             identifying specific Condor Codes
 4
             Exhibit 10 to the Gilmore Decl.:            CVS- Confidential
 5           portions of the Supplemental November
             7, 2016 Supplemental Declaration of
 6           Dr. Joel W. Hay, at paragraphs 1, 3, 4,
 7           6, 9, 10, 12-14; footnote 3; subheadings
             on page 2:20; and Tables 1 – 13.
 8
             Exhibit 11 to the Gilmore Decl.:            CVS- Confidential
 9           December 9, 2016 Expert Report of Dr.
             Joel W. Hay, at paragraphs 2, 9, 11-14,
10           28, 29, 32-53, 55-68, 71-74, 76-78,
             footnotes 9, 11, 15, 16, 17, 19, 27 ;
11
             subheadings on pages 8:13, 9:7, 9:24,
12           14:10-12, 17:5, 20:13-15, 32:23; and
             Tables 1-20.
13
14
15          3.      Based upon my review of these materials, the requested relief is necessary per Civil
16   Local Rule 79-5(e) to protect the confidentiality of information contained in these briefs and exhibits
17   that is derived from, or consists wholly of, documents designated as Confidential by defendant under
18   the terms of the Revised Protective Order.
19          4.      Plaintiffs do not take a position as to whether these documents have been appropriately
20   designated as Confidential and are appropriately filed under seal.
21          I declare under penalty of perjury under the laws of the United States of America that the
22   foregoing is true and correct.
23          Executed this 22nd day of December, 2016 in Oakland, California.
24
25
                                                          By: /s/ Jonathan K. Levine
26                                                               Jonathan K. Levine
27
28
     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                             CASE NO. 15-cv-03504-YGR-JSC
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